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                                                                    U.S. Department of Justice


                                                                        United States Attorney
                                                                      Northern District of Ohio
                                                                         United States Court House
                                                               801 West Superior Avenue, Suite 400
                                                                      Cleveland, Ohio 44113-1852


                                                  February 23, 2024
VIA EMAIL


Victoria Dowdy
Acting LEADS Administrator
1970 West Broad Street
P.O. Box 182075
Columbus, OH 43218
vdowdy@dps.ohio.gov

Mark Griffin
Law Director
City of Cleveland
601 Lakeside Avenue, Room 106
Cleveland, Ohio 44114-1077
mgriffin@clevelandohio.gov

       RE:    United States v. City of Cleveland, 1:15-CV-1046
              Monitoring Team and Department of Justice Access to Cleveland Division of
              Police Records and Systems

Dear Ms. Dowdy and Mr. Griffin:

        The United States Department of Justice, Civil Rights Division, and the United States’
Attorney’s Office for the Northern District of Ohio (collectively, “DOJ”) write to respond to
your request for clarification on whether the Monitoring Team appointed by the U.S. District
Court for the Northern District of Ohio (“Monitoring Team”) and DOJ may access information
contained within Cleveland Division of Police (CDP) documents and data consistent with federal
DOJ regulations. In formulating our response, we conferred with the Federal Bureau of
Investigation’s General Counsel Criminal Justice Information Law Unit (OGC CJILU) and the
Criminal Justice Information Services Division Information Security Officer Program Office
(CJIS ISO). Based on those discussions, permitting the Monitoring Team and DOJ access to
CDP documents and databases does not implicate DOJ regulations concerning Criminal Justice
Information Systems (CJIS).

       The Monitoring Team and DOJ seek access to CDP documents and data pursuant to a
Settlement Agreement entered into by the City and DOJ, and approved and entered as an order of
the U.S. District Court for the Northern District of Ohio, to conduct assessments of whether,
                                                                                    GOVERNMENT
                                                                                      EXHIBIT

                                                                                          3
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among other things, CDP’s stops, searches, arrests, and use of force comply with the
Constitution and laws of the United States. From our review of the information you have
provided, along with discussion with the OGC CJILU and CJIS ISO, the Monitoring Team and
DOJ do not seek access to any CJIS systems. Nor does the Monitoring Team and DOJ seek to
obtain any criminal history record information or other Criminal Justice Information (CJI)
obtained from CJIS. Instead, to conduct their assessments, they only seek access to CDP
documents and data that reside in CDP systems.

        Even if CJI is incidentally included in CDP documents, data, and information systems,
including IAPro, Blue Team, Law Enforcement Records Management System, Brazos Software,
Field Base Reporting, and Evidence.com, the Settlement Agreement, which is a court order,
requires the City and CDP to provide the Monitoring Team and DOJ access to these systems.
Under the terms of the Settlement Agreement, the Monitoring Team and DOJ are required to
keep this information confidential. The City has provided the Monitoring Team and DOJ access
to these systems since the Agreement was entered on June 12, 2015. This is a permitted
dissemination of CJI. If CDP believes that any CJI is incidentally included in any CDP
documents, data, or information systems provided to the Monitoring Team and DOJ, CDP should
log the dissemination of that CJI. Logging would ensure compliance with the CJIS Security
Policy concerning dissemination and would resolve any dissemination logging issues from a
CJIS IT security audit perspective.

       If you have any further questions, please do not hesitate to contact us.

       Sincerely,


       /s/ ________                                          /s/ ________
       Timothy Mygatt                                        Patricia M. Fitzgerald
       Deputy Chief, Special Litigation Section              Chief, Civil Division
       Civil Rights Division                                 U.S. Attorney’s Office
                                                             Northern District of Ohio


CC:    Karl Racine, Court Monitor, United States v. City of Cleveland
       Federal Bureau of Investigation, Office of the General Counsel, Criminal Justice
       Information Law Unit
       Federal Bureau of Investigation, Criminal Justice Information Services Division,
       Information Security Officer Program Office




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